                                          Case 3:22-cv-00928-EMC Document 13 Filed 02/22/22 Page 1 of 3




                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     PHILIP DESCHAMPS,                                  Case No. 22-cv-00928-EMC
                                   8                    Plaintiff,                          ORDER ADOPTING IN PART AND
                                                                                            REJECTING IN PART REPORT AND
                                   9             v.                                         RECOMMENDATION, AND DENYING
                                                                                            EX PARTE APPLICATION FOR
                                  10     CITY OF SAUSALITO, et al.,                         TEMPORARY RESTRAINING ORDER
                                  11                    Defendants.                         Docket Nos. 2, 4, 5
                                  12
Northern District of California
 United States District Court




                                  13

                                  14          Currently pending before the Court is (1) Judge Beeler’s report and recommendation in
                                  15   Plaintiff Philip Deschamps’s application to proceed in forma pauperis (“IFP”) and (2) Mr.
                                  16   Deschamps’s ex parte application for a temporary restraining order (“TRO”).
                                  17          With respect to the IFP application, the Court agrees with Judge Beeler that, based on Mr.
                                  18   Deschamps’s financial affidavit, the application should be granted. However, the Court does not
                                  19   agree with Judge Beeler that the complaint, as pled, is not subject to dismissal on mandatory sua
                                  20   sponte review under 28 U.S.C. § 1915(e)(2).
                                  21          The IFP statute provides that a court shall dismiss a case if it determines that, e.g., the case
                                  22   fails to state a claim on which relief may be granted. See 28 U.S.C. § 1915(e)(2). Here, Mr.
                                  23   Deschamps asserts that he has claims pursuant to 42 U.S.C. § 1983. Specifically, he asserts
                                  24   violations of the First Amendment (his “right to associate with pets”), the Fourth Amendment, the
                                  25   Eighth Amendment, and the Fourteenth Amendments. In the complaint, Mr. Deschamps explains
                                  26   that he has brought these claims because “[t]hey gave us 3 days to move to the tennis courts, and
                                  27   now they are taking away the structure I need to keep my cats.” Compl. at 4. The TRO
                                  28   application sheds additional light on Mr. Deschamps’s claims. In the TRO application, he states
                                          Case 3:22-cv-00928-EMC Document 13 Filed 02/22/22 Page 2 of 3




                                   1   that he will not be allowed to use his “tent structure” and instead will be issued a “standard one”

                                   2   that is 8x6 feet. TRO App. at 2. He asserts that the standard tent is inadequate because “[t]here is

                                   3   not enough space for my cats” and “they are made out [of] really thin material” that his “cats will

                                   4   rip up easily.” TRO App. at 2. In contrast, his own tent “is made [up of] strong reinforced

                                   5   canvas[] my cants can’t tear up. . . . [If] my cats escape before they acclimate to the tennis courts,

                                   6   they will go astray and may die by getting hit by vehicles or eaten by coyotes.” TRO App. at 3.

                                   7           Mr. Deschamps has failed to state a claim for violation of the First Amendment because

                                   8   there is no right to associate with pets under the First Amendment.

                                   9           He has also failed to state a claim for unlawful seizure under the Fourth Amendment

                                  10   because, even if he will need to use the standard tent (presumably, because of space limitations in

                                  11   the tennis court area), there is no indication that his own tent will be taken from him and/or

                                  12   destroyed.
Northern District of California
 United States District Court




                                  13           For the Eighth Amendment claim, there does not appear to be any authority supporting Mr.

                                  14   Deschamps’ contention that Defendants’ actions constitute cruel and unusual punishment.

                                  15           Finally, to the extent Mr. Deschamps is bringing a claim under the Fourteenth Amendment

                                  16   for a violation of substantive due process, the Due Process Clause protects against arbitrary

                                  17   deprivation of liberty by the government only. See Sylvia Landfield Tr. v. City of L.A., 729 F.3d

                                  18   1189, 1195 (9th Cir. 2013) (stating that “‘[s]ubstantive due process protects individuals from

                                  19   arbitrary deprivation of their liberty by government’[;] [t]o constitute a violation of substantive

                                  20   due process, the alleged deprivation must ‘shock the conscience and offend the community's sense

                                  21   of fair play and decency’”). Taking into account the allegations in the complaint as supplemented

                                  22   by the TRO application, the Court does not find plausible allegations of arbitrariness.

                                  23           Accordingly, the Court dismisses the complaint pursuant to its § 1915(e)(2) review.

                                  24   However, it shall give Mr. Deschamps leave to file an amended complaint. The amended

                                  25   complaint shall be filed by March 22, 2022. In the amended complaint, Mr. Deschamps must

                                  26   identify all legal claims that he is asserting and state all facts that support the claims for relief. If

                                  27   Mr. Deschamps does not timely file an amended complaint, then the Clerk of the Court shall

                                  28   automatically enter a final judgment and close the file in the case.
                                                                                           2
                                          Case 3:22-cv-00928-EMC Document 13 Filed 02/22/22 Page 3 of 3




                                   1            For the reasons stated above, the Court ADOPTS in part and REJECTS in part Judge

                                   2   Beeler’s R&R. It agrees with Judge Beeler that the IFP application should be granted but it

                                   3   disagrees with Judge Beeler’s recommendation with respect to the plausibility of the claims

                                   4   asserted in the complaint.

                                   5            Because the Court is dismissing the case, it DENIES without prejudice Mr. Deschamps’s

                                   6   ex parte application for a TRO. A denial is also appropriate because Mr. Deschamps has failed to

                                   7   provide a basis for seeking relief on an ex parte basis (i.e., without giving any kind of notice to the

                                   8   City).

                                   9            This order disposes of Docket Nos. 2, 4, and 5.

                                  10

                                  11            IT IS SO ORDERED.

                                  12
Northern District of California
 United States District Court




                                  13   Dated: February 22, 2022

                                  14

                                  15                                                     ______________________________________
                                                                                          EDWARD M. CHEN
                                  16                                                      United States District Judge
                                  17

                                  18

                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27

                                  28
                                                                                          3
